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IN THE UNITED STATES DISTRICT COURT FOR THE EASTERN DISTRICT OF MICHIGAN

DANIEL MCGOUGH,
Plainti(,
v.
LINCOLN CONSOLIDATED SCHOOLS, BRICK ELEMENTARY, PAULA ROBINETTE
(Director of Human Resources), CASSANDRA COKER (Principal of Brick Elementary),
PAM FLUCKS (Lead Secretary of Brick Elementary),
Defendants.

Civil Action No. 24-12580



COMPLAINT FOR VIOLATION OF CIVIL RIGHTS (42 U.S.C. § 1983)



COMPLAINT

JURISDICTION AND VENUE

   1. Plainti( alleges that this Court has jurisdiction under 28 U.S.C. § 1331 because this
      action arises under the laws of the United States, including but not limited to 42
      U.S.C. §§ 1983, 1985, and 1986.

   2. Plainti( alleges that venue is proper in the Eastern District of Michigan pursuant to
      28 U.S.C. § 1391, as the events giving rise to this action occurred within this district.



PARTIES

   3. Plainti(, Daniel McGough, is domiciled at 1173 Hunter Ave, Ypsilanti, MI 48197, and
      is the father of the child.

   4. Defendant, Lincoln Consolidated Schools, is alleged to be a school district
      organized under the laws of the State of Michigan, with its principal o(ice located at
      7425 Willis Rd, Ypsilanti, MI 48197.

   5. Defendant, Brick Elementary, is alleged to be a public school within the Lincoln
      Consolidated Schools district, located at 8970 Whittaker Rd, Ypsilanti, MI 48197.

   6. Defendant, Paula Robinette, is alleged to be the Director of Human Resources for
      Lincoln Consolidated Schools, and is sued in both her individual and o(icial
      capacities.
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  7. Defendant, Cassandra Coker, is alleged to be the Principal of Brick Elementary, and
     is sued in both her individual and o(icial capacities.

  8. Defendant, Pam Flucks, is alleged to be the Lead Secretary at Brick Elementary, and
     is sued in both her individual and o(icial capacities.



FACTUAL ALLEGATIONS

  9. Plainti( alleges that on September 27, 2024, at 9:30 AM, he attempted to sign out
     his child from Brick Elementary School.

  10. Plainti( alleges that the school had already received a copy of his custody order,
      which had been provided to them by the mother of his child, Alyssa McCloskey.

  11. Plainti( alleges that despite having the custody order on ﬁle, the school’s
      administration, speciﬁcally Defendant Casandra Coker, informed him that he could
      not sign out the child without prior approval from the mother.

  12. Plainti( alleges that this policy of requiring the mother’s approval is an unwarranted
      interference with his custodial rights, as no such condition exists in his custody
      order.

  13. Plainti( alleges that custodial decisions, including decisions regarding school pick-
      up, should be made by a custodial judge and not the school’s administration.

  14. Plainti( alleges that he sought to sign out the child for legitimate purposes, such as
      a doctor's appointment and a family wedding, but was again told he needed
      approval from the mother.

  15. Plainti( alleges that Defendant Pam Flucks, in her capacity as the lead secretary,
      played a central role in delaying the process. While he waited, she informed him
      that it would "be a while" before the child could be retrieved, which Plainti( believes
      was an intentional delay while the sta( reviewed his custody order.

  16. Plainti( alleges that during this delay, Defendant Flucks went to retrieve the
      principal, Defendant Coker, and they reviewed Plainti(’s custody order before
      allowing him to sign out his child.

  17. Plainti( alleges that while waiting, another secretary approached him, asking why
      he was signing the child out early, taking notes on his response.

  18. Plainti( alleges that it was a 20-minute wait before Defendant Flucks and Defendant
      Coker approached Plainti( with his custody order.
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 19. Plainti( alleges that Defendant Coker repeatedly asked if he had an “updated
     custody agreement” and stated that without one, they would need the mother’s
     permission. She asked this three times despite the fact that the existing custody
     order did not impose restrictions on when Plainti( could pick up his child from
     school.

 20. Plainti( alleges that during a 2-3 minute conversation in the o(ice, he explained that
     he is the child’s legal father, and that the child was not at risk. Despite this,
     Defendant Coker pulled out his custody order and stated, “It says here you get him
     Fridays after school, so you're going to have to wait until after school,” completely
     ignoring Plainti(’s legal rights and insisting that they still needed the mother’s
     approval.

 21. Plainti( informed the school administration of the need to contact the child's
     mother.

 22. Plainti( departed from the school premises at approximately 9:45 a.m.

 23. At or around 11:00 a.m., Plainti( called the school and was transferred to Defendant
     Coker.

 24. Plainti( inquired of Defendant Coker whether she had successfully reached the
     child's mother.

 25. Defendant Coker conﬁrmed to Plainti( that she had contacted the child's mother
     and received her approval.

 26. Plainti( alleges that due to this back-and-forth, and the school’s refusal to release
     the child, he was required to sign the child out twice, causing further delays.

 27. Plainti( alleges that these unnecessary delays caused him and his child to miss
     important portions of a family wedding, as they were not able to leave the school
     until almost 12:00 PM.

 28. Plainti( alleges that on another occasion, when he came to sign out the child a few
     minutes early, Defendant Flucks again overstepped her role by quickly contacting
     Human Resources, asking if there were any recent legal custody ﬁlings involving
     Plainti(. Plainti( alleges that he overheard this conversation, despite Defendant
     Flucks attempting to be discreet, and that she had made similar calls before.

 29. Plainti( alleges that nowhere in his custody order does it place restrictions on when
     he may sign out the child from school, nor does it indicate that the child is unsafe
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      with him. These actions demonstrate that Defendant Flucks and the school sta(
      were overstepping their authority.

   30. Plainti( further alleges that it is common practice for Lincoln Consolidated Schools
       to review custody orders for many parents, yet the treatment he experienced was
       distinct and discriminatory. Plainti( has not heard of any other parents being
       subject to the same excessive delays, scrutiny, or restrictions.

   31. Plainti( alleges that these discriminatory actions were likely inﬂuenced by
       information provided to the school by the mother of his child, which further
       highlights the school’s improper involvement in family matters.

   32. Plainti( alleges that the school’s actions, led by Defendant Flucks, have unjustly
       portrayed him as a potential threat, undermined his relationship with his child, and
       caused him signiﬁcant emotional distress and frustration.

   33. Plainti( alleges that he has attempted to resolve these issues directly with the
       school for over two years but continues to face discriminatory practices that deny
       him equal protection and due process rights guaranteed under the Fourteenth
       Amendment.



ADDITIONAL ALLEGATIONS UNDER FEDERAL LAW

Count I: Violation of Civil Rights Under 42 U.S.C. § 1983

   34. Plainti( incorporates by reference all preceding paragraphs as if fully set forth
       herein.

   35. Plainti( alleges that the actions of the Defendants, acting under color of state law,
       deprived him of rights, privileges, or immunities secured by the Constitution and
       laws of the United States, in violation of 42 U.S.C. § 1983.

   36. Speciﬁcally, the Defendants’ actions, including the delay in allowing Plainti( to pick
       up his child and the discriminatory treatment, violated Plainti('s Fourteenth
       Amendment rights to due process and equal protection.

   37. By failing to follow the custody order and imposing conditions that were not legally
       required, Defendants acted under color of state law to unlawfully interfere with
       Plainti(’s custodial rights, a protected liberty interest.

   38. These actions constitute a deprivation of Plainti(’s parental rights without due
       process of law.
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Count II: Conspiracy to Violate Civil Rights Under 42 U.S.C. § 1985(3)

   39. Plainti( incorporates by reference all preceding paragraphs as if fully set forth
       herein.

   40. Plainti( alleges that Defendants, including school administration and sta(,
       conspired to deprive him of his civil rights by intentionally discriminating against him
       based on his status as a father and custodial parent, in violation of 42 U.S.C. §
       1985(3).

   41. The conspiratorial actions of Defendants, including repeatedly delaying his ability to
       pick up his child, contacting the mother unnecessarily, and subjecting him to
       disparate treatment not experienced by other parents, demonstrate a collusive
       scheme designed to interfere with Plainti('s custodial rights and deny him equal
       protection under the law.

   42. Defendants' actions were motivated, at least in part, by discriminatory animus, and
       the disparate treatment of Plainti( was directly inﬂuenced by the improper
       involvement of the child's mother and information provided by her.



Count III: Neglect to Prevent Civil Rights Violation Under 42 U.S.C. § 1986

   43. Plainti( incorporates by reference all preceding paragraphs as if fully set forth
       herein.

   44. Plainti( alleges that Defendant Paula Robinette, as Director of Human Resources,
       and other o(icials at Lincoln Consolidated Schools had knowledge of the wrongful
       acts being committed by their subordinates, as they were responsible for reviewing
       and ensuring compliance with custody orders and parental rights.

   45. Despite this knowledge, Defendant Robinette and other o(icials had the power to
       prevent these violations but neglected or refused to take appropriate actions, in
       violation of 42 U.S.C. § 1986.

   46. As a result of this neglect, Plainti('s rights were violated, causing him emotional
       distress and continued interference with his relationship with his child.



Count IV: Discriminatory Practices in Violation of the Equal Protection Clause of the
Fourteenth Amendment
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   47. Plainti( incorporates by reference all preceding paragraphs as if fully set forth
       herein.

   48. Plainti( alleges that the actions of Defendants, including the undue scrutiny and
       delays in allowing him to sign out his child, violated the Equal Protection Clause of
       the Fourteenth Amendment.

   49. The school’s treatment of Plainti( was disparate from that of other parents, who
       were not subjected to the same level of scrutiny or delay, particularly in cases where
       both parents had legal custodial rights.

   50. This discriminatory conduct was based on improper assumptions about Plainti('s
       role as a father, constituting sex-based discrimination and a denial of his right to be
       treated equally under the law.



State Law Claims (if applicable)

   51. Plainti( reserves the right to assert any relevant state law claims arising from these
       facts, including claims for intentional inﬂiction of emotional distress, negligence, or
       discrimination under Michigan law.



RELIEF REQUESTED

WHEREFORE, Plainti( respectfully requests that this Court enter judgment in his favor and
against Defendants, awarding the following relief:

   1. A declaration that the Defendants’ actions violated Plainti(’s rights under 42 U.S.C.
      §§ 1983, 1985(3), 1986, and the Fourteenth Amendment to the United States
      Constitution.

   2. An order enjoining Defendants from further interfering with Plainti('s custodial
      rights.

   3. Compensatory and punitive damages in an amount to be determined by the Court.

   4. An award of Plainti(’s reasonable attorney fees and costs pursuant to 42 U.S.C. §
      1988.

   5. Any other relief the Court deems just and proper.
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DEMAND FOR JURY TRIAL

Plainti( demands a trial by jury on all issues so triable.



Respectfully submitted,
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